          Case 1:19-cv-01400-RJL Document 12 Filed 07/16/19 Page 1 of 1



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

ADAM SEMPREVIVO                              *

                             *
       Plaintiff,            *
                             *
    v.                       *    Case No. 19-1400 (RJL)
                             *
GEORGETOWN UNIVERSITY        *
                             *
    Defendant.               *
*   *     *    *    *   *    *    *     *       *     *  *                                  *
        NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE

   Pursuant to Rule 41(a)(1)(A) of the Federal Rules of Procedure, Plaintiff Adam Semprevivo,

by and through his undersigned counsel, hereby respectfully notifies the Court that he is

voluntarily dismissing his case without prejudice.

   This lawsuit was filed on May 15, 2019. A First Amended Complaint was filed as a matter of

right on June 7, 2019. The Defendant has not yet filed its Answer or a Motion for Summary

Judgment.

Date: July 16, 2019

                                                     Respectfully Submitted,

                                                            /s/
                                                     ________________
                                                     Mark S. Zaid
                                                     D.C. Bar #440532
                                                     MARK S. ZAID, P.C.
                                                     1250 Connecticut Avenue, N.W.
                                                     Suite 700
                                                     Washington, DC 20036
                                                     (202) 454-2809
                                                     (202) 330-5610 fax
                                                     Mark@MarkZaid.com
                                                     Attorney for Plaintiff
